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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0363V
                                         UNPUBLISHED


    JENNIFER THOMPSON,                                         Chief Special Master Corcoran

                         Petitioner,
    v.                                                         Filed: January 27, 2022

    SECRETARY OF HEALTH AND                                    Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                            Stipulation on Damages; Influenza
                                                               (Flu); Shoulder Injury Related to
                        Respondent.                            Vaccine Administration (SIRVA);
                                                               Chronic Regional Pain Syndrome
                                                               (CRPS).

Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Lauren Kells, U.S. Department of Justice, Washington, DC, for Respondent.

                               DECISION ON JOINT STIPULATION1

      On March 11, 2019, Jennifer Thompson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) within the Table time frame, with the sequelae of complex
regional pain syndrome (“CRPS”), causally related to her receipt of the influenza (“flu”)
vaccine on January 10, 2017. Petition at 1.

      On January 27, 2022, the parties filed the attached joint stipulation, which states
that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

1 Because this unpublished opinion contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the opinion will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            •   A lump sum of $70,000.00 in the form of a check payable to Petitioner.
                This amount represents compensation for all items of damages that
                would be available under Section 15(a). Stipulation at ¶ 8.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                    )
 JENNIFER THOMPSON,                                 )
                                                    )
                Petitioner,                         )
                                                    )   No.19-363V
 v.                                                 )   Chief Special Master Corcoran
                                                    )   ECF
 SECRETARYOFHEALTHANDHUMAN )
 SERVICES,                 )
                                                    )
     Respondent. )
________________ )

                                        STIPULATION

       The parties hereby stipulate to the following matters:

        1. Jennifer Thompson ("petitioner"), filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an influenm ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table ( the

"Table"), 42 C.F.R. § 100.3 (a)

       2. Petitioner received a flu vaccine on January 10, 2017.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she sustained a shoulder injury related to vaccine administration

("SIRVA") within the time period set forth in the Table, and that complex regional pain

syndrome ("CRPS") was a sequela of the alleged injury. She further alleges that she experienced

the residual effects of these conditions for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

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for damages on her behalf as a result of her alleged injury.

        6. Respondent denies that petitioner sustained a SIRVA Table injury; denies that the

vaccine caused petitioner's alleged shoulder injury, CRPS, or any other injury; and denies that

her current condition is a sequela of a vaccine-related injury.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry ofjudgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuantto 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

        A lump sum of $70,000.00 in the form of a check payable to petitioner. This amount
        represents compensation for all damages that would be available under 42 U.S.C.
        § 300aa-15(a).

        9. As soon as practicable after the entry ofjudgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-21 (a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys• fees and costs incurred in proceeding upon this

petition.

        l 0. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

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expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-l 5(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys further agree and stipulate that, except for any award

for attorney's fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-15(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on January 10, 2017, as

alleged in a petition for vaccine compensation filed on or about March 11, 2019, in the United

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States Court of Federal Claims as petition No. l 9-363V.

        14. If petitioner should die prior to entry ofjudgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

        15. If the special master fails to issue a decision in completeconfonnity with the tenns

of this Stipulation or if the Court of Federal Claims fails to enter judgment in confonnity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged SIRVA

injury, CRPS, or any other injury or her current disabilities, or that petitioner suffered an injury

contained in the Vaccine Injury Table.

       18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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   Respectfully submitted,

   PETITIONER:




   ATTORNEY OF RECORD FOR                           AUTHORIZED REPRESENTATIVE
   PETITIONER:                                      OF THE ATTORNEY GENERAL:


                                                    , JJe~}LQ~
   LEAH V. DU       T, ESQ.                         HEATHER L. PEARLMAN
   LAW OFFICES OF LEAH V. DURANT, PLLC              Deputy Director
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   Washington, DC 20006                             Civil Division
   Telephone: 202-775-9200                          U.S. Department of Justice
   Fax:202-652-1178                                 P.O. Box 146
                                                    Benjamin Franklin Station
                                                    Washington, DC 20044-0146

   AUTHORIZED REPRESENTATIVE                        ATTORNEYOFRECORD FOR
   OF THE SECRETARY OF HEALTH                       RESPONDENT:
   AND HUMAN SERVICES:

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   TAMARA OVERBY                         (.)        LA UREN KELLS
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   Dated:   o,/z£lzaz?.


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